       Case 6:21-cv-00003 Document 78-1 Filed on 02/10/21 in TXSD Page 1 of 7




                            UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS


 STATE OF TEXAS,

                 Plaintiff,
                                                      Civ. Action No. 6:21-cv-00003
 v.

 The UNITED STATES OF AMERICA;
 DAVID PEKOSKE, Acting Secretary of the
 United States Department of Homeland
 Security, in his official capacity; UNITED
 STATES DEPARTMENT OF HOMELAND
 SECURITY; TROY MILLER, Senior Official
 Performing the Duties of the Commissioner of
 U.S. Customs and Border Protection, in his
 official capacity; U.S. CUSTOMS AND
 BORDER PROTECTION; TAE JOHNSON,
 Acting Director of U.S. Immigration and
 Customs Enforcement, in his official capacity;
 U.S. IMMIGRATION AND CUSTOMS
 ENFORCEMENT; TRACY RENAUD, Senior
 Official Performing the Duties of the Director
 of the U.S. Citizenship and Immigration
 Services, in her official capacity; U.S.
 CITIZENSHIP AND IMMIGRATION
 SERVICES,

                 Defendants.




                                 DECLARATION OF PETER B. BERG

           I, Peter B. Berg, declare the following under 28 U.S.C. § 1746, and state that under

penalty of perjury the following is true and correct to the best of my knowledge and belief:

      I.      Personal Background

      1. I am currently employed by the U.S. Department of Homeland Security (DHS), U.S.

           Immigration and Customs Enforcement (ICE), Enforcement and Removal Operations

1
     Case 6:21-cv-00003 Document 78-1 Filed on 02/10/21 in TXSD Page 2 of 7




          (ERO) as the Acting Deputy Executive Associate Director. I have held this position

          since October 5, 2020. As Acting Deputy Executive Associate Director, I oversee the

          mission of ERO’s seven Headquarters divisions: Enforcement, Removal, Custody

          Management, Field Operations, ICE Health Service Corp, Law Enforcement Systems and

          Analysis, and Operations Support.

    2. Prior to this position, I served as the Assistant Director for Field Operations beginning on

          June 21, 2020 and I served in that role through October 4, 2020. In these capacities, I

          was responsible for the oversight, direction, and coordination of immigration

          enforcement activities, programs, and initiatives carried out by ERO’s 24 Field Offices

          and 188 sub-offices. I further managed ERO’s Field Operations Headquarters

          components, including Domestic Operations, Special Operations, and Law Enforcement

          Systems and Analysis.

    3. I have been a career law enforcement officer since 1996, serving in various capacities

          with both ICE and the former Immigration and Naturalization Service (INS). Other

          leadership positions I have held within ICE include: Field Office Director and Deputy

          Field Office Director for the St. Paul Field Office, Acting Deputy Assistant Director for

          the ERO Headquarters Criminal Alien Division, and Acting Deputy Assistant Director

          for the ERO Headquarters Field Operations Division.

    4. This declaration is based on my personal knowledge and experience as a law enforcement

          officer and on information provided to me in my official capacity.

    II.      Overview of ERO

    5. Following the enactment of the Homeland Security Act of 2002, ICE was created from

          elements of several legacy agencies, including INS and the U.S. Customs Service. ICE is



2
     Case 6:21-cv-00003 Document 78-1 Filed on 02/10/21 in TXSD Page 3 of 7




       the principal investigative arm of DHS, and its primary mission is to promote homeland

       security and public safety through the criminal and civil enforcement of federal laws

       governing border control, customs, trade and immigration. Within ICE, ERO oversees

       programs and conducts operations to identify and apprehend removable aliens, to detain

       these individuals when necessary, and to remove aliens with final orders of removal from

       the United States. ERO manages and oversees all aspects of the removal process within

       ICE, including domestic transportation, detention, alternatives to detention programs,

       bond management, and supervised release, and removal to more than 170 countries

       around the world. As part of the removal process, ERO manages a non-detained alien

       docket of more than 3.3 million cases, which is comprised of aliens currently in removal

       proceedings and those who have already received removal orders and are pending

       physical removal from the United States.

    6. ERO’s detention network includes over 200 detention facilities nationwide. In normal

       conditions, ERO generally detains short-term cases apprehended at the border (for

       example, those who are detained pending credible fear interviews) near the border and

       transfers longer-term cases (for example, those who are detained for removal

       proceedings) into the interior. ERO removes noncitizens from the United States who are

       subject to a final order of removal issued by an immigration court or following an

       administrative removability review. Removals can require a combination of significant

       resources and the process varies depending on the destination country. ERO must ensure

       that the noncitizen to be removed has the appropriate paperwork and/or travel documents

       required by the destination country; in some instances, this requires an in-person

       interview at the destination country’s consulate. To execute the removal, ERO contracts



3
     Case 6:21-cv-00003 Document 78-1 Filed on 02/10/21 in TXSD Page 4 of 7




           or charters flights or uses commercial airlines for escorted and unescorted removals. ERO

           also conducts routine domestic transfer and removal missions utilizing a Commercial

           Aviation Services contract with an air charter provider commonly referred to as ICE Air.

           In addition to noncitizen removals by air, ERO also removes noncitizens via ground

           transportation to contiguous countries. This process involves planning and coordinating

           removals across the country and developing and implementing strategies to support the

           return of all removable noncitizens to their country of origin. At the onset of the

           COVID-19 pandemic, airport closures and commercial flight cancellations caused a

           significant reduction in the ability of ICE to utilize commercial flights for noncitizen

           removals. In addition, ERO set a nationwide goal to reduce the capacity usage of all

           dedicated ICE facilities to under 70% to help mitigate the impact of COVID-19. This

           goal went further than the CDC’s guidance that congregate settings should be under 75%

           capacity.

    III.      Information on Releases from ICE Custody

    7. As a part of my official duties, I am familiar with the Scheduling Order in Texas v.

           United States, No. 6:21-cv-00003 (entered Jan. 30, 2021), instructing that the government

           produce data for six specific issues. I submit this declaration in response to the Court’s

           request. The data provided in this declaration is the most current available and is

           accurate as of the time I signed below. It is important to note that “current” in the context

           of ICE data means that it is current as of the last update to the database, which occurs

           approximately every 72 hours and that due to this process, as well as the necessary data

           quality checks and validations, the data provided will be as of a date 48 to 72 hours prior.

           The information stored on ERO’s system of record does not perfectly match the Court’s



4
     Case 6:21-cv-00003 Document 78-1 Filed on 02/10/21 in TXSD Page 5 of 7




       questions; analyzing the available data to answer the Court’s questions therefore cannot

       be done instantaneously. Given these logistical difficulties, the data included in this

       declaration are as of January 30, 2021.

    8. As of January 30, 2021, there are over 1.19 million noncitizens subject to

       administratively final orders of removal as part of ICE’s detained and non-detained

       docket. Of those, 5,962 are in ICE custody and 1.18 million are part of ICE’s non-

       detained docket. These final orders might include cases that are pending in federal court,

       cases where noncitizens have temporary stays of removal, or cases where noncitizens

       cannot be removed because some countries refuse to accept the return of their nationals.

    9. Between January 20, 2021 and January 30, 2021, 511 individuals subject to a final order

       of removal have been released from ICE detention into the United States. Between

       January 20, 2019 and January 30, 2021, 22,712 individuals subject to a final order of

       removal have been released from ICE detention into the United States. These numbers

       only represent active cases. A case is closed and no longer active when the subject of the

       case is physically removed/returned from the United States, granted some form of legal

       status such as asylum, or proceedings are terminated.

    10. Noncitizens with final orders of removal may be released under a variety of conditions.

       For instance, many noncitizens with final orders of removal are released from ICE

       custody under orders of supervision. The order of supervision contains specific

       provisions that the noncitizen must abide by while released from ICE custody. An order

       of supervision indicates that a noncitizen is released from ICE custody after receiving an

       administrative final order of removal with a personal obligation (e.g., signed form) to

       report to ICE offices when requested and cooperate with removal efforts. When



5
    Case 6:21-cv-00003 Document 78-1 Filed on 02/10/21 in TXSD Page 6 of 7




      noncitizens are not subject to mandatory detention, ICE may exercise discretion to

      release noncitizens who do not pose a danger to the community or who are not

      considered a flight risk. ICE makes such discretionary custody decisions on a case-by-

      case basis, looking at such factors as an alien’s criminal and immigration history, as well

      as humanitarian factors, with no single factor being determinative.

      ICE currently requires noncitizens released under this condition, as well as released on an

      Order of Release on Recognizance (OREC) and parole, to report to the ICE Field Office

      in person for one year after release, or until removal or the individual is granted some

      form of relief. The minimum reporting requirements are established after considering the

      individual facts and circumstances of the case. Noncitizens with a criminal record are

      required to report once every two months; immigration violators without a criminal

      record are required to report once every four months; and asylum applicants are required

      to report once every six months. Field Offices are authorized to exercise discretion in

      establishing reporting requirements after one year of in-person reporting. After

      noncitizens released from ICE custody complete in-person report-ins for one year and

      adhere to the established reporting requirements, the Field Office Director, or his or her

      designee, may change the reporting frequency at his or her discretion after reviewing the

      noncitizen’s case and adherence to the reporting requirements. For example, a Field

      Office Director may alter a noncitizen’s reporting requirements during the duration of the

      COVID-19 pandemic if that subject has confirmed chronic care conditions.




6
     Case 6:21-cv-00003 Document 78-1 Filed on 02/10/21 in TXSD Page 7 of 7




    11. ICE notes that of the noncitizens released from January 20, 2019 to the present (as of

        January 30, 2021), approximately 447 have so far failed to return to ICE and

        subsequently been classified as ICE fugitives.1

    12. Of the noncitizens who became subject to a final order of removal from January 20, 2019

        until January 30, 2021, approximately 17.73 percent have been removed. Those who

        have not been removed could include the following: final order cases that are pending in

        federal court, cases where individuals have temporary stays of removal, or cases where

        individuals cannot be removed because some countries refuse to accept the return of their

        nationals or because of border closures due to COVID-19 restrictions, as well as ICE

        fugitives referenced in the previous paragraph, and/or those who were not removed

        because of discretionary determinations.



This declaration is based upon my personal and professional knowledge, information obtained

from other individuals employed by ICE, and information obtained from various records and

systems maintained by DHS. I provide this declaration based on the best of my knowledge,

information, belief, and reasonable inquiry for the above captioned case.

Signed on this 10th day of February, 2021.


PETER B Digitally      signed by
              PETER B BERG
              Date: 2021.02.10
BERG
_______________________
              22:31:10 -06'00'
Peter B. Berg
Acting Deputy Executive Associate Director
ICE Enforcement and Removal Operations



1
 An ICE Fugitive is a noncitizen who has failed to leave the United States based upon a final order of removal,
deportation, or exclusion, or who has failed to report to ICE after receiving notice to do so.

7
